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AO 91 (Rev. ll/ll) Criminal Complaint u ;;t;:ir;le;ttag:l:oa:lhis“ g g

UNITED LM%T'CCURT 'JAN 25 2015
for the Mwuc°m.

Southern District of Texas

 

 

 

 

 

 

 

 

United States of America )
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KRlsHNA MOHAN § Case N°' H 1 " 0
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Defendant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 1/26/2018 in the county of Ha|’l'iS in the
Southern District of Texas , the defendant(s) violated:
Coa'e Sectz`on Ojj%nse Description

18 U.S.C. § 1348(1) Commodities Fraud

7 U.S.C. § 6c(a)(5)(C) and 13(a)(2) Spoofing

This criminal complaint is based on these facts:

See Attached Affidavit of Federa| Bureau of |nvestigationl Specia| Agent, Jeremy Ha|e

d Continued on the attached sheet.

 
 

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/ %plain% 's signature
FB|, SA Jeremy Hale

Printed name and title

 

 

Swom to before me and signed in my presence.

Date: _`Mi 01/26/2018 /M !/%A)

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City and State; Houston, Texas Frances H Stacy, U. S. Magistqj\ e J dge

Printea’ name and title

 

 

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

 

I, Jeremy Hale, being duly sworn, state as follows:

1. I am a Special Agent With the Federal Bureau of Investigation (FBI),
and have been since October 6, 2017 . I began my career with the FBI as an
Intelligence Analyst on September 13, 2009. As an Intelligence Analyst, I primarily
provided strategic and tactical analysis to a squad which investigated corporate,
securities, and commodities fraud schemes Some of my duties as an Intelligence
Analyst included reviewing statements provided by confidential human sources and
witnesses, reviewing records obtained from financial institutions and brokerage
firms, and reviewing securities trading data. I used this information to publish

reports for the benefit of other law enforcement agencies and government regulators.

 

 

On May 14, 2017 , I began the Basic Field Training Course f`or `Special Agents at the
FBI Academy. I am currently assigned to the Complex Financial Crimes Squad in the
Houston Division of the FBI. I hold a Bachelor’s degree from Sam Houston State
University in Accounting and a Master’s degree from California State University,
Sacramento in Accounting.

2. I submit this Afiidavit in support of a criminal complaint and arrest '

 

warrant for KRISHNA MOHAN (hereinafter “MOHAN”) for: (i) commodities fraud,
in violation of Title 18, United States Code, Section 1348(1); and (ii) spoofing, in
violation of Title 7, United States Code, Sections 60(a)(5)(C) and 13(a)(2).

3. For the reasons set forth below, there is probable cause to believe that

on or about certain days, beginning in or around November 2013 and continuing

 

 

 

 

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through approximately December 2013 (the “Relevant Period”), MOHAN, in Houston,
in the Southern District of Texas,l and elsewhere: `

a. knowingly, and with the intent to defraud, executed, and
attempted to execute, and Willfully participated in, a material scheme and
artifice to defraud market participants in connection with commodities for
future delivery in the market for E-Mini Dow J ones Industrial Average futures
contracts (“E-Mini Dow’) on the Chicago Board of Trade (“CBOT”) and E-Mini
NASDAQ 100 futures contracts (“E-Mini NASDAQ”) on the Chicago
Mercantile EXchange (“CME”), in violation of Title 18, United States Code,
Section 1348(1)2; and l

b.v knowingly engaged in trading, practice, and conduct on or subject
to the rules of a registered entity, namely the CME and CBOT, that was
“spoofing,” that is, bidding and offering with the intent, at the time the bid or
offer was entered, to cancel the bid or offer before execution, in violation of Title

7 , United States Code, Sections 60(a)(5)(C) and 13(a)(2).3

 

1 MOHAN’s orders were Visible to market participants in this District and
MOHAN entered into transactions with counterparties in this District.

2 The Fraud Enforcement and Recovery Act of 2009 (“FERA”), enacted on
May 20, 2009, expanded the anti-fraud provisions of the federal securities fraud

statute, 18 U.S.C. § 1348, to apply to fraud involving commodities options and
futures See FERA § 2(e)(1), Pub. L. 111-21, 123 Stat. 1618.

3 Cong'ress enacted the anti-spoofing provision, 7 U.S.C § 60(a)(5)(C), as an
amendment to the Commodity Exchange Act, as part of the Dodd-Frank Wall Street
Reform and Consumer Protection Act (the “Dodd-Frank Act”), which became effective
on July 16, 2011. See Dodd-Fran_k Act §§ 747, 7 54; see also, e.g., Antidisruptivey
Practices Authority Contained in the Dodd-Frank Wall Street Reform and Consumer
Protection Act, 75 Fed. Reg. 67301-01, 67302 (Nov. 2, 2010).

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4. The information in this Affidavit is based upon (i) my personal
participation in this investigation, (ii) my discussions with other law enforcement
officers who have assisted in the investigation; (iii) my training and experience,
(iv) an analysis of trading data and related information obtained by the FBI in
connection with the investigation, and (v) my review of documents and other
materials obtained and produced by the CME during its investigation into MOHAN’s
trading activity, including a recorded interview of MOHAN.

5. This Affidavit is being executed as part of an ongoing investigation and
is based on my current understanding of the relevant facts based on the above. As
the investigation proceeds, new facts may come to light that qualify or contradict
prior facts. Because this Affidavit is being submitted for the limited purpose of
establishing probable cause for the criminal complaint and arrest warrant, I have not
included each and every fact known concerning this investigation I have set forth
only the facts that I believe are necessary to establish that there is probable cause to
believe that MOHAN has violated (i) Title 18, United States Code, Section 1348(1);
and (ii) Title 7, United States Code, Sections 6c(a)(5)(C) and 13(a)(2).

BACKGROUND

6. From on or about August 2010 to on or about March 2014, MOHAN was

employed as a programmer and trader at a proprietary trading firm located in

Chicago, Illinois (hereinafter “Trading Firm A”).4 During the Relevant Pe_riod,

 

4 The identity of Trading Firm A is known to Your Af`fiant.

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MOHAN Worked With two other traders, Trader 1 and Trader 2,5 on a trading team
(hereinafter the “Trading Team”) that traded, among other things, futures contracts
on the CME and CBOT, When MOHAN joined the Trading Team, he worked to
support Trader 1 and Trader 2 by developing automated trading tools and strategies
Subsequently, Trader 1 began training MOHAN to manually trade. During the
Relevant Period, MOfIAN manually traded futures contracts on behalf of the Trading
Team and Trading Firm A.

7. d The CME Group Inc. (“CME Group”) was a commodities marketplace
made up of several exchanges, including CME and CBOT, which was based in
Chicago, Illinois At all relevant times, CME and CBOT Ware registered entities,
operating as Designated Contract Markets. CME and CBOT utilized an electronic
trading system called “Globex.”

8. Globex was a global electronic trading platform operated by the CME
Group, which utilized computer servers located in Chicago and Aurora, Illinois.
Trading on Globex was conducted electronically using a visible “order book” that
displayed quantities of anonymous orders (i.e. , offers to sell futures contracts and bids
to buy futures contracts) at various price points, or “levels.” Globex allowed market
participants to trade futures contracts either at the exchange itself or from a location
virtually anywhere in the world. Through Globex, markets operated by the CME

Group offered trading opportunities in various futures contracts, including E-Mini

 

5 The identities of Trader 1 and Trader 2 are known to Your Affiant.

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Dow, and E-Mini NASDAQ.

9. CME and CBOT, through the Globex system, allowed traders to place
orders in the form of “bids” to buy or “of`f`ers” to sell a futures contract. An order was
“filled” or “executed” when a buyer and seller bought and sold a particular contract.
The minimum price increment at which a futures contract could trade on CME and
CBOT was called a “tick,” and the value of a tick for each contract was set by CME
and CBOT. Futures contracts traded on set, periodic expiration cycles (i.e., monthly
or quarterly).

10. An “iceberg” order Was a type of order that traders could place when
trading futures contracts on the CME and CBOT. In an iceberg order, the total
amount of` the order was divided into a certain pre-set quantity that was visible to
other market participants and the remainder of the order that was not visible to
other market participants Whenever the visible portion of the order was filled, the
same, pre-set quantity of` the remaining, hidden portion automatically became visible;
this process repeated until the remainder of the order was either executed or
canceled.

11. In order to trade futures contracts on the CME and/or CBOT, a trader
must utilize a unique identifier called a Tag 50 that is used to connect a particular
market participant with a specific order, modification`or cancellation placed on the
CME. During the Relevant Period, YB01 and YB04 were assigned to MOHAN and
YB02 was assigned to Trader 1. During the Relevant Period, the Tag 508 YB01,

YB02, and YB04 were used by MOHAN, Trader 1 and Trader 2 at various times to

 

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place orders for futures contracts on the CME and CBOT.6

12. A futures contract was a standardized, legally binding agreement that,
once executed, obligated the parties to the contract to buy or to sell a specific product
or financial instrument in the future. That is, the buyer and seller of a futures
contract agreed on a price today for a product or financial instrument to be delivered
(by the seller), in exchange for money (to be provided by the buyer), on a future date.

13. Futures contracts were traded on markets designated and regulated by
the Commodity Futures Trading Commission (the “CFTC”), the federal agency
established by federal statute to regulate, among many other things, transactions
related to and involving the purchase and sale of futures contracts

14. E-Mini Dow was a stock market index futures contract that represented
an agreement to buy or sell the future cash value of the Dow Jones Industrial
Average, Which was an index of 30 U.S. stocks, at a specified date and traded on the
CBOT. E-Mini NASDAQ was a stock market index futures contract that represented
an agreement to buy or sell the future cash value of the NASDAQ 100, which was an

index of 100 U.S. stocks, at a specified date and traded on the CME.

 

6 CME and CBOT rules required that traders use only the Tag 50 identifiers
assigned to them, and not permit other traders to use them. During the Relevant
Period, however, MOHAN, Trader 1, and Trader 2 frequently used the same Tag 50
identifiers_YBOl, YB02, and YB04, among others_to place trades on the CME and
CBOT. All orders placed using the Tag 50s YB01, YB02, and YB04 are traceable to
the Trading Team. After August 2013, utilizing login credentials provided by Trading
Firm A, the FBI has been able to trace orders placed using YB01, YB02, and YB04 to
either MOHAN, Trader 1, or Trader 2, specifically.

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15. Based on my training and experience and my work on this investigation,
I have learned that:

a. “Spoofing” was the unlawful practice of bidding or offering with
the intent, at the time the bid or offer is placed, to cancel the bid or offer before
it is executed, Spoofing can be used as a method to engage in market
manipulation

b. One of the many ways that spoofing can be used to manipulate
the market for futures contracts is:

i. A trader places one or more large orders either to buy or to
sell futures contracts on one side of the market, which the trader
intends, at the time the orders are placed, to cancel before they are
executed (the “Spoof Orders”). To drive prices up, the trader places
Spoof Orders to buy, which create the false impression in the market of
increased demand. To drive prices down, the trader places Spoof Orders
to sell, which create the false impression in the market of increased
supply.

ii. Near the same time the Spoof Orders are placed, the Same
trader also places genuine orders, in a much lower quantity, on the
opposite side of the market, which the trader, by contrast, intends to
execute (the “Primary Orders”).

iii. By placing the Spoof Orders, the trader intends to create a

market imbalance, injecting false and misleading information (i.e.,

 

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orders the trader does not intend to execute) into the market to create
the false impression of increased supply or demand.

iv. This false and misleading information may, and often does,
cause other market participants to buy and to sell futures contracts at
quantities at prices, and at times, that they otherwise Would not
because, among other things, market participants react to the apparent
(although artificial) increase in supply or demand that might, and often
does, affect futures contract prices

v. When the trader Who enters Spoof Orders induces enough
market participants to buy or to sell futures contracts at a price that
they otherwise would not have traded, the price of a given futures
contract may change, resulting in the creation of a new, but artificially
inflated or deflated, price. When the new artificial price has changed
enough, the trader’s Primary Orders trade at quantities, at prices, and
at times that otherwise would not have been available, but for the Spoof
Orders

SUM]VIARY OF THE INVESTIGATION

Overview of the Scheme to Defraud and Spoofing Practice

The FBI has been investigating the existence of materially deceptive

trading activity in the markets for E-Mini Dow and E-Mini NASDAQ futures

contracts by, among others, MOHAN and the Trading Team.

17.

Based on information obtained by the FBI during the investigation,

 

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Which is discussed in more detail below, on certain days in the Relevant Period, in
Houston, in the Southern District of Texas, and elsewhere, MOHAN (i) devised,
executed, and participated in a scheme to defraud other market participants (the _
“Scheme to Defraud”), and (ii) engaged in the practice of spoofing (the “Spoofing
Practice”), all in connection with E-Mini Dow and E-Mini NASDAQ futures contracts
all of which were financial products traded on the CBOT and CME.

18. Specifically, based on documents obtained by the FBI and an analysis of
trade and order data performed during the investigation, Your Affiant has learned
that, as part of and furtherance of the Scheme to Defraud and Spoofing Practice:

a. MOHAN utilized a strategy to place one or more large orders7 for
E-Mini Dow and E-Mini NASDAQ futures contracts on one side of the market which,
at the time MOHAN placed the orders he intended to cancel before execution. The
purpose of these Spoof Orders was to trick other market participants by injecting
materially misleading information into the market that indicated increased supply
or demand, but was not genuine because MOHAN never intended to execute the bids
or offers contained in these Spoof Orders This, in turn, was intended to induce and
often did induce market participants to buy or to sell E-Mini Dow and E-Mini
NASDAQ futures contracts at prices at quantities and at times that they Would not

have otherwise. While the Spoof Orders Were pending, and in those instances when

 

7 To accomplish this MOHAN used an automated function to split one large
order into multiple, smaller orders (that, in total, equaled the amount of the large
order), which were submitted simultaneously to the CBOT or CME. For purposes of
the analysis contained in this complaint, I have aggregated these smaller orders

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the Spoof Orders caused or assisted in causing price movements MOHAN often
executed Primary Orders of smaller visible quantities on the opposite side of the
market in an attempt to profit, mitigate losses or otherwise benefit from the artificial
movement in price that they Spoof Orders had caused or assisted in causing.

b. MOHAN refused to answer questions regarding his trading
activity, strategy, and intent, When confronted about his conduct by the CME Group
during its investigation into his trading activity.

c. Prior to the Relevant Period, MOHAN had demonstrated an
understanding of spoofing techniques by producing a document demonstrating an
automated strategy to place Spoof Orders that Were expressly described as “bluff’
orders not meant to be traded; and the Trading Team tested the implementation of a
trading strategy whichclosely matches this automated strategy.

MOHAN Engaged in the Scheme To Defraud and Spoofing Practice in the E-Mini
Dow and E-Mini NASDAQ Futures Contracts Markets

19. Your Affiant has reviewed summaries of an analysis of MOHAN’s
trading activity in the E-Mini Dow and E-Mini NASDAQ futures contracts markets
for the “Relevant Period”. On certain days during the Relevant Period, MOHAN
sought to enrich himself through a scheme to defraud and spoofing practices in
connection with the purchase and sale of E-Mini Dow and E-Mini NASDAQ futures
contracts on the CBOT and CME, respectively. By placing a large Visible order for E-
Mini Dow and E-Mini NASDAQ futures contracts at certain price levels with the
intent, at the time the order Was placed, to cancel the order before execution, MOHAN

created the false appearance of substantial supply or demand in order to fraudulently

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induce other market participants to react to their deceptive market information
Spoofing Practice in the E-Mini Dow Futures Contract Market
20. Based on the analysis of MOHAN’s trading activity in the E-Mini Dow
futures contract market, MOHAN implemented, at various times the following v
pattern of order and trade activity during the Relevant Period. There is probable
cause to believe that the pattern articulated below is materially deceptive and
constitutes spoofing:

a. First, MOHAN placed one or more Primary Orders to buy or to
sell. These orders were typically icebergs with only one or two lots visible to
the market, placed at the best bid price (in the case of a Primary Order to buy)
or offer price (in the case of a|Primary Order to sell) at Which the E-Mini Dow
was trading;

b. Second, MOHAN placed one or more large visible orders on the
opposite side of the market from the Primary Order, within two price levels of
the prevailing price (the “Opposite Orders”). These orders increased the
number of Working lots at the best and second best prevailing bid or offer price
in the order book by an average of 75 lots when compared to the number of
working lots at the placement of the Primary Order, and comprised, on
average, approximately 7_5% of the total number of orders in the entire market
at the levels at which the Opposite Orders were placed; and

c. Third, at least one lot of MOHAN’s Primary Order was filled

approximately 95% of the time within 2 seconds after the placement of an

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Opposite Order; and

d. Fourth, after filling at least part of his Primary Orders MOHAN
would cancel the Opposite Orders within 5 seconds
21. When employing the trading pattern described in paragraph 20 above,

approximately 53% of the Primary Order lots were executed, while only
approximately 0.2% of the Opposite Order lots were executed.

22. MOHAN employed the pattern of trading activity summarized above in
paragraphs 20 and 21 in the E-Mini Dow futures contracts market hundreds of times
placing thousands of Opposite Orders during the Relevant Period.

Spoofing Practice in E-Mini NASDAQ Futures Contracts Market

23. Based on an analysis of MOHAN’s trading activity in the E-Mini
NASDAQ futures contract market, MOHAN implemented, at various times the
following pattern of order and trade during the Relevant Period. There is probable
cause to believe that the pattern articulated below is materially deceptive and
constitutes spoofing:

a. First, MOHAN placed one or more Primary Orders to buy or to
sell. These orders were typically icebergs with only one or two lots visible to
the market, placed at the best bid price (in the case of Primary Orders to buy)
or offer price (in the case of Primary Orders to sell) at which the E-Mini
NASDAQ was trading;

b. Second, MOHAN placed one or more large visible orders on the

opposite side of the market from the Primary Order, Within two price levels of

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the prevailing price (the “Opposite Orders”). These orders increased the
number of working lots at the best and second best prevailing bid or offer price
in the order book by an average of 71 lots when compared to the number of
working lots at the placement of the Primary Order, and comprised, on
average, approximately 7 2% of the total number of orders in the entire market
at the levels at which the Opposite Orders were placed;
c. Third, at least one lot of MOHAN’s Primary Order was filled
approximately 94% of the time within 2 seconds after the placement of an
Opposite Order; and
d. Fourth, after filling at least part of his Primary Orders MOHAN
would cancel the Opposite Orders within 5 seconds
24. When employing this trading pattern approximately 60% of the
Primary Order lots were executed, while only approximately 0.1% of the Opposite
Order lots were executed.

25. MOHAN employed the pattern of trading activity summarized above in
paragraph 23 in the E-Mini NASDAQ futures contracts market over a thousand
times placing tens of thousands of Opposite Orders during the Relevant Period.
December 2. 2013 Example of MOHAN’s Spoofing Practice in the E-Mini NASDAQ

26. As one example of MOHAN’s execution of the spoofing practice in a
manner consistent with the pattern summarized above in paragraphs 23 above,
MOHAN engaged in the following order and trade activity in the E-Mini NASDAQ

futures contract market:

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a. On December 2, 2013, at approximately 3:01:50.862,8 MOHAN
placed an iceberg Primary Order to buy 40 E-Mini NASDAQ futures contracts
with only 1 order visible to the market, at the price of $3490.75, which Was the
best prevailing bid price at that point in time.

b. Second, at approximately 3:02:00.910, MOHAN placed an
Opposite Order, which was not an iceberg, to sell 40 E-Mini NASDAQ futures
contracts at the price of $3,491.25, which was the second best prevailing offer
price at that point in time. At approximately 3:02:01.327, MOHAN placed a
second Opposite Order to sell 40 E-Mini NASDAQ futures contracts at the
same price, $3,491.25. Together, MOHAN’s two Opposite Orders constituted
approximately 74% of the order book to sell E-Mini NASDAQ futures contracts
at that price level.

c. Third, approximately 0.952 seconds after placing the second
Opposite Order, MOHAN’s iceberg Primary Order to buy began to be filled at
approximately 3:02:02.279, and was completely filled at approximately
3:02:02.284, giving MOHAN an overall long position of 40 lots in the E-Mini
NASDAQ market.

d. Fourth, less than one second after MOHAN’s iceberg Primary
Order was completely filled, at approximately 3:02:02.736, MOHAN cancelled

his Opposite Orders of two 40 lots to sell without any of the Opposite Orders

 

8 All times in this AfHdavit are approximate and are in Central Time, based on
a 24-hour clock.

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being filled. The Opposite Orders to sell had been active in the market for
approximately 1.8 and 1.4 seconds respectively, before MOHAN cancelled
them.
27. Approximately two seconds after the conduct summarized in paragraph
26 above occurred, MOHAN engaged in the following order and trade activity in the
E-Mini NASDAQ futures contract market designed to profitably sell his existing 40
lot long E-l\/[ini NASDAQ position:
a. At approximately 03:02:04.671, MOHAN placed an iceberg
Primary Order to sell 40 E-Mini NASDAQ futures contracts with only 1 order
visible to the market, at $3,491.00, which was at the best prevailing offer price
at that point in time.
b. Second, at approximately 3:02:11.104, MOHAN placed an
Opposite Order, which was not an iceberg, to buy 40 E-Mini NASDAQ futures
contracts at the price of $3,490.75, which was the best prevailing bid price at
that point in time and constituted 69% of the order book to buy E-Mini
NASDAQ futures contracts at that price level.
c. Third, approximately 0.001 seconds after placing the Opposite
Order, MOHAN’s iceberg Primary Order to sell began to be filled at
approximately 3:02:11.105, and was completely filled at approximately
3:02:11.110, giving MOHAN a one tick, “round-trip” gain over the course of
approximately 20 seconds in the E-Mini NASDAQ market,

d. Fourth, less_than one second after MOHAN’s iceberg Primary

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Order was completely filled, at approximately 3:02:11.879, MOHAN cancelled
his Opposite Order of 40 lots to buy without any of the Opposite Order being
filled. The Opposite Order to buy had been active in the market for
approximately 0.775 seconds before MOHAN cancelled it.
December 9, 2013 Example of MOHAN’s Spoofing Practice in the E-Mini NASDA_Q
28. As another example of MOHAN’s pattern of trading activity that is
summarized above in paragraph 23, MOHAN engaged in the following order and
trade activity in the E-Mini NASDAQ futures contract market:

a. On December 9, 2013, at approximately 05:27:41.553 MOHAN
placed an iceberg Primary Order to buy 40 E-Mini NASDAQ futures contracts
with only 1 order visible to the market, at the price of $3,509.50, which was at
the best prevailing bid price at that point in time.

b. Second, at approximately 5:27:42.713, MOHAN placed an
Opposite Order, which was not an iceberg, to sell 40 E-Mini NASDAQ futures
contracts at the price of $3,510.00, which was at the second best prevailing
offer price at that point in time and constituted approximately 30% of the order
book at that price level. At approximately 5:27:43.225, MOHAN placed a
second Opposite Order to sell 40 E-Mini NASDAQ futures at $3,509.75, which
was the best prevailing offer price at that point in time and constituted
approximately 87% of the order book at that price level.

c. Third, approximately 3 milliseconds after placing the second

Opposite Order, MOHAN’s iceberg Primary Order to buy began to be filled at

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approximately 5:27:43.228, with MOHAN executing 17 of the 40 lots
d. Fourth, less than 1 second after MOHAN’s iceberg Primary Order
was partially filled With 17 lots MOHAN cancelled his Opposite Order at the
best prevailing price of 40 lots to sell without any of this Opposite Order being
filled and less than 2 seconds later, MOHAN cancelled his remaining Opposite
Order at the second best prevailing price of 40 lots to`sell without any of this
Opposite Order being filled. The Opposite Order to sell at the best prevailing
price had been active in the market for approximately 1 second and the
Opposite Order to sell at the second best prevailing price had been active in
the market for less than 3 seconds before MOHAN cancelled them.
November 27, 2013 Example of MOHAN’s Spoofing Practice in the E-Mini Dow
29. As another example of MOHAN’s pattern of trading activity that is
summarized above in paragraphs 20, MOHAN engaged in the following order and
trade activity in the E-Mini Dow futures contract market:
a. On November 27, 2013, at approximately 8:06:34.949, MOHAN
placed an iceberg Primary Order to sell 40 E-Mini Dow futures contracts with only 1
order Visible to the market, at the price of $16,083, which was at the second best
prevailing offer price at that point in time.
b. Second, at approximately 8:06:48.557, MOHAN placed an
Opposite Order, which was not an iceberg, to buy 40'E-Mini Dow futures contracts at
the price of $16,081, which was at the second best prevailing bid price at that point

in time. This MOHAN Opposite Order constituted approximately 74% of the order

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book at that price level. Next, between approximately 8:06:49.591 and 8:06:49.592,
MOHAN placed another Opposite Order, which was not an iceberg, to buy 40 E-Mini
Dow futures contracts at a price of $16,082, which was the best prevailing bid price
at that point in time. This MOHAN Opposite Order constituted approximately 83%
of the order book at that price level.

c. Third, approximately 1 millisecond after placing the second
Opposite Order, MOHAN’s iceberg Primary Order to sell began to be filled at
approximately 8:06:49.592, and by approximately 8:06:50.238, 27 lots of the iceberg
Primary Order were filled.

d. Approximately 207 milliseconds after the last fill of the Primary
Order, at 8:06:50.495, MOHAN cancelled his Opposite Order of 40 lots to buy at the
best prevailing bid price Without any of this Opposite Order being filled, This
Opposite Order to buy had been active in the market for approximately 1 second
before MOHAN cancelled it. At approximately 8:06:52.117, MOHAN cancelled his
Opposite Order of 40 lots to buy at the second best prevailing bid price without any

of this Opposite Order being filled. This Opposite Order to buy had been active in the

market for approximately 3.7 seconds before MOHAN cancelled it.

e. Finally, at approximately 8:06:56.528, MOHAN canceled his

iceberg Primary Order, of which 13 lots remained unfilled.
30. A market participant located in this District relied on the Opposite
Orders described in paragraph 29, above, in executing a trade with MOHAN’s

Primary Order.

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MOHAN Refuses to Answer Questions during a CME Interview
about his TradingActivitv

31. In or around 2014, the CME began to investigate, among other things
MOHAN’s E-Mini Dow and El-Mini NASDAQ trading activity. As part of its
investigation, the CME analyzed MOHAN’s trading activity in these markets and
conducted a recorded interview of MOHAN on December 10, 2014.

32. During the December 10, 2014 interview, CME investigators questioned
MOHAN for over an hour about his trading activity generally. MOHAN answered
numerous general questions about strategy and his role on the Trading Team and at
Trading Firm A. However, when questioned about his specific orders cancellations
and transactions including his intent when placing certain orders MOHAN refused
to answer these questions

33. Specifically, Mohan was shown excerpts of his E-Mini Dow and E-l\/lini
NASDAQ trading activity from December 4, 2013 (E-Mini Dow) and December 9,
2013 (E-Mini NASDAQ ).9 When asked about the specific orders cancellations and
transactions in these trading excerpts MOHAN refused to answer each question
MOHAN was asked specifically Whether he intended to execute the orders outlined
in paragraph 28 above and responded, in sum and substance, that he would “prefer

not to answer that question.”

MOHAN Produced a Document Describing
an Automated Stratg;v to Place Spoof` Orders

34. In approximately July 2016, MOHAN produced to the CFTC seven

versions of an undated Microsoft Word document With the filename,

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“smartordersdocx” (the “SmartOrders Document”). The FBI has obtained electronic j
copies of the materials that MOHAN produced to the CFTC. Based on a review of the
metadata associated with the SmartOrders Documents, Your Affiant has learned
that each document has a metadata field entitled, “ED Source,” with one version
containing the entry, “Krishna Mohan Google Drive \Active Files”, and the remaining
six versions containing the entry, “Krishna Mohan Google Drive\Revision Files”.

35. Five of the seven versions of MOHAN’s SmartOrders Document that
Your Affiant has reviewed contain an entry for “4 Smart Stuffing book.(order cancel
replace)” (hereinafter, “Smart Stuffing Function”) which reads in full (emphasis v
added in bold)lo:

4 Smart Stuffing book.(order cancel replace)

allow trader to control which side they Want to show bluff.
trader decide each level how many contracts should be put in and
contracts should be break into multiple smaller contracts in random
size which overall average order size match with the entire books
average size. we can also add 30,40,50 contracts into the book to mimic
market makers never throw easily detected size like 100/200/250 or
60s like 9ner.

Only put bluffing orders in when book exceed 400 contract. and flipped
for more than 500 ms

every 10 second add 1 lot in the existing order and minus 1 lot
to make sure every order of ours Will be at the back of the
queue. make a butt called( refresh bluffing)

All those orders are not mean to be traded. if for any reason some
one flush big size in and bluff order get filled, order will be sent out

 

9 MOHAN’s statements from his December 10, 2104 CME Interview that are
quoted in this Complaint are based on a transcription of that recorded interview,
which the Affiant has reviewed. [Ex. 12 (Tran`script of CME Interview)]

10 All typographical errors are original to the document that is quoted.

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immediately to the price it get filled try to scratch out.

36. Based on my training and experience, Your Affiant believes the Smart
Stuffing Function outlines a trading program that would allow a trader to place an
order that he did not intend to execute and whose quantity was modified to mitigate
b the risk that this “bluff’ order would be traded, The Smart Stuffing Function itself
explicitly notes that the “bluff” orders “are not mean [sic] to be traded. In addition
the Smart Stuffing Function states that “every 10 second add 1 lot in the existing
order and minus 1 lot to make sure every order of ours will be at the back of the
queue.” Based on my training and experience, I know that certain futures contracts
trade on a First-In, First-Out (“FIFO”) basis and that orders whose quantities are
modified move to the back of the order queue.

37. Trading activity was analyzed to identify patterns consistent with the
Smart Stuffing Function described in paragraphs 36 and 37 above_specifically,
orders whose quantity is modified by adding and subtracting one lot. Based on a
review of that analysis Your Affiant has learned that it identified certain trading
activity by the Tag 50, “YB04,” which was used by the Trading Team to trade E-Mini
S&P 500 futures contracts on the CME. A review of the analysis shows that between
August 6 and August 8, 2012 there were approximately 33 instances in which an
order’s size was modified alternatively by increasing the size one lot and then
decreasing the size one lot. Based on my review of this analysis and my training and
experience, this trading pattern is consistent with the description of the Smart
Stuffing Function, which would “add 1 lot in the existing order and minus 1 lot to

make sure every order of ours will be at the back of the queue.”

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CONCLUSION
38. Based on the foregoing, there is probable cause to believe that MOHAN
participated and engaged in: (i) commodities fraud, in violation of Title 18, United

States Code, Section 1348(1); and (ii) spoofing, in violation of Title 7, United States

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ederal Bureau of Investigation

Code, Sections 6c(a)(5)(C) and 13(a)(2).

Signed and sworn to before me this __ day

of January, 2018, in Houston, Texas ((`U/\,(i gm `)YWMW will/a .

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HoN. FRANCES H. sTACY
United States Magistrate Jud

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